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                                            UNTED STATES DISTRICT COURT
                                              DISTRICT OF CONNCTICUT

CENDANT CORPORATION,
                          Plaintiff,
                                                                          Civil No. 3:06CV00854 (A WT)
v.

E.KI SHELTON, AM M. SHELTON
and ROBIN D. JACKSON, TRUSTEE of
THE SHELTON CHILDREN
IRVOCABLE TRUST,
                          Defendant.                                      SEPTEMBER 10, 2007


                              CENDANT'S MOTION FOR RECONSIDERATION

            Plaintiff Cendant Corporation ("Cendant") respectfully moves for reconsideration of

one aspect of         the Cour's August 24,2007 discovery ruling. Specifically, the Cour ruled that

Cendant should comply with Defendant Amy Shelton's Interrogatory No.1 requesting the

identity of "all Cendant offcers, directors or senior managers who reside in homes owned by

his or her spouse." The basis of                    the requested reconsideration is both to outline the practical

diffculty and the unfair privacy invasion of a literal compliance with such an interrogatory and

to propose an alternative which would satisfy all legitimate interests. A proposed order

implementing the proposed protocol is attached for the Cour's consideration. Pursuant to D.

Conn. Local Rule 7(a)(1), Cendant has filed concurently a Memorandum of                           Law in support of

this motion.




NO ORA ARGUMENT REQUESTED
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                                   PLAITIFF - CENDANT CORPORATION




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                                                                      ORDER

            The foregoing Cendant's Motion for Reconsideration having been heard and

considered, it is hereby GRATED. The Cour's August 24,2007 discovery ruling with

respect to Defendant Amy Shelton's Interrogatory No.1 is hereby amended as follows:

            1. Interrogatory No. 1 shall apply to officers, directors or senior managers who


transferred his or her home or any interest therein to his or her spouse;

            2. The term "senior managers" in Interrogatory No. 1 shall include, and shall be


limited to, those managers who hold positions equivalent to or superior to that held by E. Kirk

Shelton during his employment by Cendant Corporation; and

            3. Cendant Corporation may, in lieu of disclosing the names and addresses of


offcers, directors or senior managers, provide an answer to Interrogatory No. 1 by causing

Avis Budget's General Counsel to develop and circulate an inquiry form which each of                             the

pertinent individuals would be requested to sign and retu to the General Counsel, who would

tabulate the results and provide an answer to the interrogatory by stating how many of                          the

individuals so transferred his or her home or any interest therein to his or her spouse.



                                                                                       BY THE COURT



Date:
                                                                                       Hon. Alvin W. Thompson
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 10, 2007, a copy ofthe foregoing Cendant's

Motion For Reconsideration was filed electronically. Notice ofthis filing wil be sent

bye-mail to all paries by operation ofthe Cour's electronic filing system. Parties

may access this filing through the Cour's system.




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